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NOT FOR PUBLICATION

                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY



  JERYL TURCO,                                          Civ. Action No. 15-3008 (SDW) (LDW)
                        Plaintiff,
  v.                                                    ORDER & JUDGMENT
  CITY OF ENGLEWOOD, NEW JERSEY,
                                                        August 12, 2022
                         Defendant.


 WIGENTON, District Judge.
         This Court held a bench trial for two days in this matter regarding Plaintiff Jeryl Turco’s

 (“Plaintiff”) claims against Defendant City of Englewood, New Jersey (“Defendant”). For the

 reasons stated in this Court’s Trial Opinion dated August 12, 2022,

         IT IS, on this 12th day of August 2022,

         ORDERED that judgment is entered in favor of Defendant on all claims, and

         ORDERED that Plaintiff’s Complaint is DISMISSED.

         SO ORDERED.



                                                      s/ Susan D. Wigenton_______
                                                      SUSAN D. WIGENTON
                                                      UNITED STATES DISTRICT JUDGE



 Orig:          Clerk
 cc:            Hon. Leda D. Wettre, U.S.M.J.
                Parties
